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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION
KEITH COLE, JACKIE BRANNUM, RICHARD            §
KING, MICHAEL DENTON, FRED WALLACE,            §
and MARVIN RAY YATES, individually and on      §
behalf of those similarly situated,            §   CIVIL ACTION NO.
                                               §      4:14-cv-1698
                      Plaintiffs,              §
                                               §
v.                                             §
                                               §
BRYAN COLLIER, in his official capacity,       §
ROBERTO HERRERA, in his official capacity, and §
TEXAS DEPARTMENT OF CRIMINAL JUSTICE, §
                                               §
                      Defendants.              §

    PLAINTIFFS’ MOTION FOR CONTEMPT, TO SHOW CAUSE & SANCTIONS



                                 Exhibit 7
                       Declaration of J. Alcocer
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